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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )
                                                              Case No. 22-CR-10057-AK
                                                  )
MONICA CANNON-GRANT,                              )
                                                  )
               Defendant.                         )
                                                  )

                                     ORDER TO APPEAR

A. KELLEY, D.J.


       A Grand Jury indicted Monica Cannon-Grant on March 14, 2022, for twenty-seven

counts related to mail and wire fraud, filing false tax returns, and making false statements to a

mortgage lending business. Attorney Christopher L. Malcolm appeared as retained counsel on

February 2, 2022 [Dkt. 86]. On March 15, 2022, Judge Wolf referred the case to Magistrate

Judge Dein [Dkt. 16]. On July 28, 2023, the case was no longer referred to Magistrate Judge

Dein [Dkt. 131], and on November 9, 2023, the case was reassigned to Judge Kelley [Dkt.

134]. In light of this reassignment, an initial pretrial conference was set for December 15, 2023

[Dkt. 135]. Attorney Malcolm was notified of this via the ECF system. Malcolm did not file a

motion to continue or reschedule the date or time for the conference, yet he did not appear. Nor

did he contact the clerk. Accordingly, the Court will hold a hearing on January 3, 2024 at 2:00

PM in Courtroom 8. Attorney Malcolm is directed to appear in person along with his client. In

addition to ECF notice, the clerk shall (1) mail this order to Attorney Malcolm by prepaid first-

class mail with a return receipt requested. If Attorney Malcolm again fails to appear and



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properly respond to the Court’s order, the Court will take appropriate action to protect the rights

of his client and address the disregard of the Court’s Order.



Dated: December 18, 2023                                             /s/ Angel Kelley
                                                                     Hon. Angel Kelley
                                                                     United States District Judge




                                                 2
